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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                              Case No. 22-80056-CR-DMM
                                       17-20275-CR-RLR

  UNITED STATES OF AMERICA,

          Plaintiff,

  v.

  KEVIN CHRISTIAN FUSCO,

        Defendant.
  ______________________________________/

                          PRETRIAL DETENTION ORDER

          On April 22, 2022, the Defendant appeared before the Court for a

  pretrial detention hearing pursuant to 18 U.S.C. §3142(f) in case number

  22-80056 and for an initial appearance on a Superseding Petition for violating

  his supervised release in case number 17-20275.        Rather than proceed with an

  evidentiary hearing, and with advice of counsel, Mr. Fusco stipulated to detention,

  expressly reserving his right to seek a full detention hearing at a subsequent

  date.    The Court finds that there is a factual and legal basis to accept the

  stipulation to detention.

          Now, therefore, it is hereby ORDERED that the Defendant is committed to

  the custody of the Attorney General or a designated representative for confinement

  in a corrections facility separate, to the extent practicable, from persons awaiting or

  serving sentences or held in custody pending appeal. Defendant must be afforded a

  reasonable opportunity to consult privately with defense counsel. On order of a
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  court of the United States or on request of an attorney for the Government, the

  person in charge of the corrections facility must deliver the Defendant to the United

  States Marshal for the purpose of a court appearance.         This Order is without

  prejudice to the Defendant seeking a full detention hearing at a subsequent date.

        DONE and ORDERED in Chambers at West Palm Beach, Palm Beach

  County, in the Southern District of Florida, this 22nd day of April 2022.



                                      __________________________________
                                  BRUCE E. REINHART
                                  UNITED STATES MAGISTRATE JUDGE




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